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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                   HON. AMIT P. MEHTA

 Google LLC,

                                Defendant.



                PARTIES’ JOINT STATUS REPORT ON PROTECTIVE ORDER
                AND DEFENDANT’S NOTICE REGARDING RULE 12 MOTION

        Pursuant to the Court’s October 30, 2020 Minute Order, the Parties submit this Joint

Status Report updating the Court on the status of negotiations regarding a proposed Protective

Order and Defendant’s intention with respect to whether it will file a Rule 12(b) motion.

       1.       Protective Order. The Parties have exchanged initial proposals regarding the

terms of a proposed Protective Order governing the exchange and submission of confidential

material, but have been unable to agree on a single proposed order. Although the Parties have

reached agreement on many terms and provisions, a small number of significant issues remain in

dispute. The Parties propose to submit short position statements to the Court outlining their

respective positions on the disputed terms, not to exceed ten (10) pages, by November 13, 2020.

The Parties will be prepared to discuss their positions at the Status Conference scheduled for

November 18, 2020. The Plaintiffs also understand that third parties would like to be heard on

this issue, and the Parties therefore request that they be allowed to submit short position

statements to the Court outlining their respective positions on the disputed terms, not to exceed

seven (7) pages, by November 13, 2020.

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       2.       Google’s Intention with respect to Rule 12 Motion. Google informs the Court

that it does not intend to file a Rule 12(b) motion to dismiss, and will answer the Complaint on or

before December 21, 2020.



Dated: November 6, 2020                       Respectfully submitted,

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